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 9
                          UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11                                          ) Case No.
     JOSEPH MENICHIELLO, individually )
12
     and on behalf of all others similarly  ) CLASS ACTION
13   situated,                              )
14                                          ) COMPLAINT FOR VIOLATIONS
     Plaintiff,                             ) OF:
15                                          )
16          vs.                             )    1. NEGLIGENT VIOLATIONS
                                                       OF THE TELEPHONE
                                            )          CONSUMER PROTECTION
17
     ROYAL FUNDING GROUP INC., and )                   ACT [47 U.S.C. §227(b)]
18   DOES 1 through 10, inclusive, and each )    2.    WILLFUL VIOLATIONS
                                                       OF THE TELEPHONE
19   of them,                               )          CONSUMER PROTECTION
                                            )          ACT [47 U.S.C. §227(b)]
20   Defendant.                             )    3.    NEGLIGENT VIOLATIONS
                                                       OF THE TELEPHONE
21                                          )          CONSUMER PROTECTION
                                            )          ACT [47 U.S.C. §227(c)]
22                                               4.    WILLFUL VIOLATIONS
                                            )
                                                       OF THE TELEPHONE
23                                          )          CONSUMER PROTECTION
24
                                            )          ACT [47 U.S.C. §227(c)]
                                            )
25                                          )
26                                          ) DEMAND FOR JURY TRIAL
                                            )
27                                          )
28                                          )


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 1         Plaintiff JOSEPH MENICHIELLO (“Plaintiff”), individually and on behalf
 2   of all others similarly situated, alleges the following upon information and belief
 3   based upon personal knowledge:
 4                                  NATURE OF THE CASE
 5         1.     Plaintiff brings this action individually and on behalf of all others
 6   similarly situated seeking damages and any other available legal or equitable
 7   remedies resulting from the illegal actions of ROYAL FUNDING GROUP INC.
 8   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 9   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
10   Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related regulations, specifically the
11   National Do-Not-Call provisions, thereby invading Plaintiff’s privacy.
12                              JURISDICTION & VENUE
13         2.     Jurisdiction is proper under 28 U.S.C. § 1331 because this matter
14   arises out of a question of federal law, in particular the Telephone Consumer
15   Protection Act, 47 U.S.C. § 227 et. seq.. Thus, this Court has federal question
16   subject matter jurisdiction.
17         3.     This Court has specific personal jurisdiction over Defendant because
18   Defendant called Plaintiff on his cellular telephone in the County of Orange,
19   California, which is within this district.
20         4.     Venue is proper in the United States District Court for the Central
21   District of California pursuant to 28 U.S.C. § 1391(b)(2) because the conduct that
22   gives rise to Plaintiff’s claims occurred within the State of California and the
23   county of Orange.
24                                         PARTIES
25         5.     Plaintiff, JOSEPH MENICHIELLO (“Plaintiff”), is a natural person
26   residing in Huntington Beach, California and is a “person” as defined by 47 U.S.C.
27   § 153(39).
28         6.     Defendant, ROYAL FUNDING GROUP INC. (“Defendant”) is


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 1   working capital finance company with its principal place of business in Brooklyn,
 2   New York, and is a “person” as defined by 47 U.S.C. § 153(39).
 3         7.     The above named Defendant, and its subsidiaries and agents, are
 4   collectively referred to as “Defendants.” The true names and capacities of the
 5   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 6   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 7   names. Each of the Defendants designated herein as a DOE is legally responsible
 8   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 9   Complaint to reflect the true names and capacities of the DOE Defendants when
10   such identities become known.
11         8.     Plaintiff is informed and believes that at all relevant times, each and
12   every Defendant was acting as an agent and/or employee of each of the other
13   Defendants and was acting within the course and scope of said agency and/or
14   employment with the full knowledge and consent of each of the other Defendants.
15   Plaintiff is informed and believes that each of the acts and/or omissions complained
16   of herein was made known to, and ratified by, each of the other Defendants.
17                              FACTUAL ALLEGATIONS
18         9.     Beginning in or around October of 2017, Defendant contacted
19   Plaintiff on Plaintiff’s cellular telephone number ending in -7270, in an attempt to
20   solicit Plaintiff to purchase Defendant’s marketing services. Plaintiff received such
21   call from Defendant while within the County of Orange, California.
22         10.    Defendant used an “automatic telephone dialing system” as defined
23   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
24         11.    Defendant contacted or attempted to contact Plaintiff from telephone
25   numbers confirmed to belong to Defendant, including and not necessarily limited
26   to (692) 228-0078.
27         12.    Defendant’s calls constituted calls that were not for emergency
28   purposes as defined by 47 U.S.C. § 227(b)(1)(A).


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 1         13.    Defendant’s calls were placed to telephone number assigned to a
 2   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 3   pursuant to 47 U.S.C. § 227(b)(1).
 4         14.    During all relevant times, Defendant did not possess Plaintiff’s “prior
 5   express consent” to receive calls using an automatic telephone dialing system or an
 6   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 7   227(b)(1)(A).
 8         15.    Further, Plaintiff’s cellular telephone number ending in -7270 was
 9   added to the National Do-Not-Call Registry on or about February 22, 2007.
10         16.    Defendant placed multiple calls soliciting its business to Plaintiff on
11   his cellular telephone ending in -7270 beginning in or around October 2017 and
12   continuing throughout the year.
13         17.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
14   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
15         18.    Plaintiff received numerous solicitation calls from Defendant within a
16   12-month period.
17         19.    Defendant continued to call Plaintiff in an attempt to solicit its
18   services and in violation of the National Do-Not-Call provisions of the TCPA.
19         20.    Upon information and belief, and based on Plaintiff’s experiences of
20   being called by Defendant after being on the National Do-Not-Call list for several
21   years prior to Defendant’s initial call, and at all relevant times, Defendant failed to
22   establish and implement reasonable practices and procedures to effectively prevent
23   telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
24   227(c)(5).
25                                CLASS ALLEGATIONS
26         21.    Plaintiff brings this action individually and on behalf of all others
27   similarly situated, as a member the two proposed classes (hereafter, jointly, “The
28   Classes”).


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 1         22.    The class concerning the ATDS claim for no prior express consent
 2   (hereafter “The ATDS Class”) is defined as follows:
 3
                  All persons within the United States who received any
 4                solicitation/telemarketing   telephone   calls    from
 5                Defendant to said person’s cellular telephone made
                  through the use of any automatic telephone dialing
 6
                  system or an artificial or prerecorded voice and such
 7                person had not previously consented to receiving such
 8
                  calls within the four years prior to the filing of this
                  Complaint.
 9
10         23.    The class concerning the National Do-Not-Call violation (hereafter
11   “The DNC Class,” and with the ATDS Class, “The Classes”) is defined as follows:
12
                  All persons within the United States registered on the
13                National Do-Not-Call Registry for at least 30 days, who
14                had not granted Defendant prior express consent nor had
                  a prior established business relationship, who received
15
                  more than one call made by or on behalf of Defendant
16                that promoted Defendant’s products or services, within
17                any twelve-month period, within four years prior to the
                  filing of the complaint.
18
19         24.    Plaintiff represents, and is a member of, The ATDS Class, consisting
20   of all persons within the United States who received any collection telephone calls
21   from Defendant to said person’s cellular telephone made through the use of any
22   automatic telephone dialing system or an artificial or prerecorded voice and such
23   person had not previously not provided their cellular telephone number to
24   Defendant within the four years prior to the filing of this Complaint.
25         25.    Plaintiff represents, and is a member of, The DNC Class, consisting
26   of all persons within the United States registered on the National Do-Not-Call
27   Registry for at least 30 days, who had not granted Defendant prior express consent
28   nor had a prior established business relationship, who received more than one call


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 1   made by or on behalf of Defendant that promoted Defendant’s products or services,
 2   within any twelve-month period, within four years prior to the filing of the
 3   complaint.
 4         26.    Defendant, its employees, and agents are excluded from The Classes.
 5   Plaintiff does not know the number of members in The Classes, but believes the
 6   Classes members number in the thousands, if not more. Thus, this matter should
 7   be certified as a Class Action to assist in the expeditious litigation of the matter.
 8         27.    The Classes are so numerous that the individual joinder of all of its
 9   members is impractical. While the exact number and identities of The Classes
10   members are unknown to Plaintiff at this time and can only be ascertained through
11   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
12   The Classes includes thousands of members. Plaintiff alleges that The Classes
13   members may be ascertained by the records maintained by Defendant.
14         28.    Plaintiff and members of The ATDS Class were harmed by the acts of
15   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
16   and ATDS Class members via their cellular telephones thereby causing Plaintiff
17   and ATDS Class members to incur certain charges or reduced telephone time for
18   which Plaintiff and ATDS Class members had previously paid by having to retrieve
19   or administer messages left by Defendant during those illegal calls, and invading
20   the privacy of said Plaintiff and ATDS Class members.
21         29.    Common questions of fact and law exist as to all members of The
22   ATDS Class which predominate over any questions affecting only individual
23   members of The ATDS Class. These common legal and factual questions, which
24   do not vary between ATDS Class members, and which may be determined without
25   reference to the individual circumstances of any ATDS Class members, include,
26   but are not limited to, the following:
27                a.     Whether, within the four years prior to the filing of this
28                       Complaint, Defendant made any telemarketing/solicitation call


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 1                       (other than a call made for emergency purposes or made with
 2                       the prior express consent of the called party) to an ATDS Class
 3                       member using any automatic telephone dialing system or any
 4                       artificial or prerecorded voice to any telephone number
 5                       assigned to a cellular telephone service;
 6                b.     Whether Plaintiff and the ATDS Class members were damaged
 7                       thereby, and the extent of damages for such violation; and
 8                c.     Whether Defendant should be enjoined from engaging in such
 9                       conduct in the future.
10         30.    As a person that received numerous telemarketing/solicitation calls
11   from Defendant using an automatic telephone dialing system or an artificial or
12   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
13   claims that are typical of The ATDS Class.
14         31.    Plaintiff and members of The DNC Class were harmed by the acts of
15   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
16   and DNC Class members via their telephones for solicitation purposes, thereby
17   invading the privacy of said Plaintiff and the DNC Class members whose telephone
18   numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
19   members were damaged thereby.
20         32.    Common questions of fact and law exist as to all members of The
21   DNC Class which predominate over any questions affecting only individual
22   members of The DNC Class. These common legal and factual questions, which do
23   not vary between DNC Class members, and which may be determined without
24   reference to the individual circumstances of any DNC Class members, include, but
25   are not limited to, the following:
26                a.     Whether, within the four years prior to the filing of this
27                       Complaint, Defendant or its agents placed more than one
28                       solicitation call to the members of the DNC Class whose


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 1                      telephone numbers were on the National Do-Not-Call Registry
 2                      and who had not granted prior express consent to Defendant and
 3                      did not have an established business relationship with
 4                      Defendant;
 5                b.    Whether Defendant obtained prior express written consent to
 6                      place solicitation calls to Plaintiff or the DNC Class members’
 7                      telephones;
 8                c.    Whether Plaintiff and the DNC Class member were damaged
 9                      thereby, and the extent of damages for such violation; and
10                d.    Whether Defendant and its agents should be enjoined from
11                      engaging in such conduct in the future.
12         33.    As a person that received numerous solicitation calls from Defendant
13   within a 12-month period, who had not granted Defendant prior express consent
14   and did not have an established business relationship with Defendant, Plaintiff is
15   asserting claims that are typical of the DNC Class.
16         34.    Plaintiff will fairly and adequately protect the interests of the members
17   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
18   class actions.
19         35.    A class action is superior to other available methods of fair and
20   efficient adjudication of this controversy, since individual litigation of the claims
21   of all Classes members is impracticable. Even if every Classes member could
22   afford individual litigation, the court system could not. It would be unduly
23   burdensome to the courts in which individual litigation of numerous issues would
24   proceed. Individualized litigation would also present the potential for varying,
25   inconsistent, or contradictory judgments and would magnify the delay and expense
26   to all parties and to the court system resulting from multiple trials of the same
27   complex factual issues. By contrast, the conduct of this action as a class action
28   presents fewer management difficulties, conserves the resources of the parties and


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 1   of the court system, and protects the rights of each Classes member.
 2         36.    The prosecution of separate actions by individual Classes members
 3   would create a risk of adjudications with respect to them that would, as a practical
 4   matter, be dispositive of the interests of the other Classes members not parties to
 5   such adjudications or that would substantially impair or impede the ability of such
 6   non-party Class members to protect their interests.
 7         37.    Defendant has acted or refused to act in respects generally applicable
 8   to The Classes, thereby making appropriate final and injunctive relief with regard
 9   to the members of the Classes as a whole.
10                             FIRST CAUSE OF ACTION
11          Negligent Violations of the Telephone Consumer Protection Act
12                                   47 U.S.C. §227(b).
13                             On Behalf of the ATDS Class
14         38.    Plaintiff repeats and incorporates by reference into this cause of action
15   the allegations set forth above at Paragraphs 1-37.
16         39.    The foregoing acts and omissions of Defendant constitute numerous
17   and multiple negligent violations of the TCPA, including but not limited to each
18   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
19   47 U.S.C. § 227 (b)(1)(A).
20         40.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
21   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
22   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
23         41.    Plaintiff and the ATDS Class members are also entitled to and seek
24   injunctive relief prohibiting such conduct in the future.
25   ///
26   ///
27   ///
28   ///


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 1                              SECOND CAUSE OF ACTION
 2      Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                            Act
 4                                    47 U.S.C. §227(b)
 5                              On Behalf of the ATDS Class
 6          42.    Plaintiff repeats and incorporates by reference into this cause of action
 7    the allegations set forth above at Paragraphs 1-37.
 8          43.    The foregoing acts and omissions of Defendant constitute numerous
 9    and multiple knowing and/or willful violations of the TCPA, including but not
10    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
11    and in particular 47 U.S.C. § 227 (b)(1)(A).
12          44.    As a result of Defendant’s knowing and/or willful violations of 47
13    U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled an award of
14    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15    § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16          45.    Plaintiff and the Class members are also entitled to and seek injunctive
17    relief prohibiting such conduct in the future.
18                              THIRD CAUSE OF ACTION
19           Negligent Violations of the Telephone Consumer Protection Act
20                                    47 U.S.C. §227(c)
21                               On Behalf of the DNC Class
22          46.    Plaintiff repeats and incorporates by reference into this cause of action
23    the allegations set forth above at Paragraphs 1-37.
24          47.    The foregoing acts and omissions of Defendant constitute numerous
25    and multiple negligent violations of the TCPA, including but not limited to each
26    and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
27    47 U.S.C. § 227 (c)(5).
28          48.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),


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 1    Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
 2    damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
 3          49.      Plaintiff and the DNC Class members are also entitled to and seek
 4    injunctive relief prohibiting such conduct in the future.
 5                              FOURTH CAUSE OF ACTION
 6      Knowing and/or Willful Violations of the Telephone Consumer Protection
 7                                              Act
 8                                    47 U.S.C. §227 et seq.
 9                                On Behalf of the DNC Class
10          50.      Plaintiff repeats and incorporates by reference into this cause of action
11    the allegations set forth above at Paragraphs 1-37.
12          51.      The foregoing acts and omissions of Defendant constitute numerous
13    and multiple knowing and/or willful violations of the TCPA, including but not
14    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
15    in particular 47 U.S.C. § 227 (c)(5).
16          52.      As a result of Defendant’s knowing and/or willful violations of 47
17    U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of
18    $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
19    § 227(c)(5).
20          53.      Plaintiff and the DNC Class members are also entitled to and seek
21    injunctive relief prohibiting such conduct in the future.
22                                  PRAYER FOR RELIEF
23     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
24                               FIRST CAUSE OF ACTION
25           Negligent Violations of the Telephone Consumer Protection Act
26                                      47 U.S.C. §227(b)
27                 As a result of Defendant’s negligent violations of 47 U.S.C.
28                   §227(b)(1), Plaintiff and the ATDS Class members are entitled to and


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 1                request $500 in statutory damages, for each and every violation,
 2                pursuant to 47 U.S.C. 227(b)(3)(B).
 3                Any and all other relief that the Court deems just and proper.
 4                           SECOND CAUSE OF ACTION
 5      Knowing and/or Willful Violations of the Telephone Consumer Protection
 6                                           Act
 7                                   47 U.S.C. §227(b)
 8                As a result of Defendant’s willful and/or knowing violations of 47
 9                U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
10                entitled to and request treble damages, as provided by statute, up to
11                $1,500, for each and every violation, pursuant to 47 U.S.C.
12                §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
13                Any and all other relief that the Court deems just and proper.
14                            THIRD CAUSE OF ACTION
15           Negligent Violations of the Telephone Consumer Protection Act
16                                   47 U.S.C. §227(c)
17                As a result of Defendant’s negligent violations of 47 U.S.C.
18                §227(c)(5), Plaintiff and the DNC Class members are entitled to and
19                request $500 in statutory damages, for each and every violation,
20                pursuant to 47 U.S.C. 227(c)(5).
21                Any and all other relief that the Court deems just and proper.
22                           FOURTH CAUSE OF ACTION
23      Knowing and/or Willful Violations of the Telephone Consumer Protection
24                                           Act
25                                   47 U.S.C. §227(c)
26                As a result of Defendant’s willful and/or knowing violations of 47
27                U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
28                to and request treble damages, as provided by statute, up to $1,500,


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 1                 for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
 2                 Any and all other relief that the Court deems just and proper.
 3                                     JURY DEMAND
 4          54.    Pursuant to the Seventh Amendment to the Constitution of the United
 5    States of America, Plaintiff is entitled to, and demands, a trial by jury.
 6
 7
 8          Respectfully Submitted this 25th Day of October, 2018.
 9                               LAW OFFICES OF TODD M. FRIEDMAN, P.C.
10
                                        By: /s/ Todd M. Friedman
11                                          Todd M. Friedman
12
                                            Law Offices of Todd M. Friedman
                                            Attorney for Plaintiff
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